 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2852
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 1 of 7
                                                                                                              global




DOCUMENTERS



When ‘relentlessly local’ goes global
       by Detroit Documenters
       March 26, 2024




Hey hey, Detroit,

We’re welcoming spring by making changes! Look for this newsletter to hit your inbox on Wednesday
mornings starting next week. We’re also moving Documenters office hours to Thursday afternoons
beginning next week.

Detroit Documenters and Outlier Media exist to serve Detroiters, full stop. We’ve even been called
“relentlessly local” by the national media. Still, we get fired up when international audiences take an
interest in what we’re building together.

Last week, Outlier accepted the International Award for Local Media in Barcelona, which was a nice
surprise. And next month, Detroit Documenters coordinators Lynelle and Noah will speak at the
International Journalism Festival in Perugia, Italy. Cities and towns all over the world need more
transparency and healthier civic life, so we’re excited to discuss Documenters’ special assignments with
journalists from around the globe. We should all be proud that our community of practice inspires so
many people.

Back to what we need to do to keep things here at home running well. The City of Detroit is running a
housing survey to gather information in order to better support residents with disabilities.

 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                1/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2853
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 2 of 7
                                                                                                              global

We have one more week left of budget hearings, and together with BridgeDetroit, we’re reporting on all
of them. Check out the complete rundown.

If you’ve been following these budget hearings, you may have heard Detroit City Council President Mary
Sheffield saying some items will be “added to executive session.” Councilmembers hold executive
sessions after the public hearings end to deliberate. The sessions are public and provide an opportunity
for the council to make amendments to the proposed budget before approving it.

In their regular session last week, City Council approved $19.5 million in contracts to add surveillance
technology to the city’s freeways in an effort to crack down on violent crime. The council is also getting
ready to vote on an ordinance designed to thwart human trafficking in the city.

The Highland Park City Council (finally) did finalize an agreement with the Great Lakes Water Authority
and appointed an interim treasurer.

Keep reading for the full rundown on meetings covered last week around Detroit. Here’s what
Documenters are looking into the week to come:

  3/25/2024 Wayne County Art Institute Authority
  3/26/2024 Detroit City Council, Formal Session
  3/26/2024 Detroit Land Bank Authority, Board of Directors
  3/27/2024 Wayne County Community College District, Board of Trustees
  3/28/2024 Detroit Housing Commission, Board of Commissioners
  3/28/2024 Detroit City Council Budget Hearings: Board of Review / Office of Inspector General
  3/28/2024 Detroit City Council Budget Hearings: Ombudsman / Department of Public Works
  3/28/2024 Detroit Board of Police Commissioners
  3/28/2024 Detroit Transportation Corp., Board of Directors




    “If I find that there are landlords that aren’t even registering, we’re going to hit them with a lot of
    tickets.”
    —David Bell, director of Detroit’s Buildings, Safety Engineering, and Environmental Department, at a budget hearing




                                                                            Spotlight

    Meet Marguerite Maddox — the Detroiter championing mobility rights, one city meeting at a time

 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                2/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2854
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 3 of 7
                                                                                                              global

                                                                  by Laura Herberg




       Marguerite Maddox, 68, prefers to ride the QLine over the bus when she has time because she finds it easier to board with her
       rolling walker. Photo credit: Laura Herberg



If you’ve attended a public meeting in Detroit, you’ve likely heard Marguerite Maddox speak. She’s been
making her voice heard on issues ranging from sidewalk repair to how well bus drivers are driving for
more than a decade.

                                                                            Read the story




 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                3/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2855
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 4 of 7
                                                                                                              global

                                                                 Public Meetings Report

                                                                            Budget

Councilmembers heard from the Building, Safety Engineering, and Environment Department (BSEED) and
the Civil Rights, Inclusion and Opportunity Department (CRIO) in back-to-back budget hearings.

Councilmembers were concerned about code enforcement at BSEED. Director David Bell said BSEED
holds property owners accountable through ticketing, but according to the Department of Appeals, the
collection rate on blight tickets in 2023 was only 16%.

Similarly, councilmembers were concerned businesses aren’t meeting a 2021 executive order requiring
certain publicly funded construction projects to have 51% of their workers be Detroit residents. CRIO
Deputy Director Tenika Griggs confirmed that on average, closer to 22% of workers in these construction
projects have been Detroiters. Griggs said construction sites that fail to meet the hiring requirements
receive fines but aren’t shut down.

Councilmembers questioned whether thousands of dollars in fines is a strong enough deterrent.
Councilmember Coleman Young II said “bad actors” will merely view the tickets and fines as a cost of
doing business.

3/20/2024 Detroit City Council, Budget Hearings: BSEED; CRIO, documented by Amy Senese and
Tyrone Anderson



Both the Detroit Water and Sewerage Department (DWSD) and the Detroit Department of Transportation
(DDOT) outlined ambitious plans during Friday’s budget hearings while seeking to reassure City Council
that progress was underway.

DWSD has moved into Phase 2 of the Basement Backup Protection Program and the replacement of
lead service lines continues, but the Brightmoor Stormwater Improvement Project remains bogged
down in land ownership issues. The department also expressed frustrations with customers not paying
for service or participating in the 10/30/50 Payment Plan.

DDOT highlighted the increase in funding to hire 117 more bus drivers, the opening of the Jason
Hargrove Transit Center at the former Michigan State Fairgrounds site and the installation of bus shelters.
Safety remains a concern, with Interim Executive Director Michael Staley saying preventable accidents
occur with DDOT buses at rates three times higher than the national standard.

Councilmembers were generally supportive of the agency, but they raised concerns with inaccurate bus
tracking and an app that makes purchasing tickets difficult. They also questioned a lack of uniformity in
 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                4/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2856
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 5 of 7
                                                                                                              global

bus signs.

3/22/2024 Detroit City Council Budget Hearings: DWSD and DDOT, documented by Perry Sylvester and
Shiva Shahmir




                                                                             Politics

3/18/2024 Highland Park City Council: Councilmembers approved the final settlement agreement
resolving Highland Park’s outstanding water debt. The council also appointed Lisa Stolarski temporarily
to the position of city treasurer and scheduled a special primary election on Aug. 6 for the position.

Documented by Amy Senese and Jen David

For more updates on Highland Park, watch Mayor Glenda McDonald’s 2024 State of the City Address.

3/19/2024 Detroit City Council, Formal Session: City Council approved spending $19.5 million from a
state grant to fund contracts for surveillance technology intended to mitigate violent crimes on Detroit
freeways.

Documented by Meghan Rutigliano and Shannon Mackie

For more on City Council, check out Malachi Barrett’s City Council Notebook at BridgeDetroit.

                                                                            Education

3/19/2024 Detroit Public Schools Community District, Regular Board Meeting: Board members spent
more than two hours in closed session prior to hearing public comment. Several commenters appeared

 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                5/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2857
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 6 of 7
                                                                                                              global

to have left by the time they were called on. The district will not pursue an investigation into the principal
at Thirkell Elementary-Middle School.

Documented by Amber Umscheid and Zaara Noor

Read more in Detour Detroit for more information on the investigation into the principal at Thirkell.

                                                                       Transportation

3/20/2022 Wayne County Airport Authority (WCAA), Board of Directors: Board members quickly
approved contracts. Tadarial Sturdivant, the authority’s senior vice president of public safety, said the
Detroit Metro Airport Fire Department responded to 9% more calls last year than in 2022, and the Detroit
Metro Airport Police Department responded to 25% more calls last year than in 2021.

Documented by A J Johnson and Nathaniel Eichenhorn

                                                                            Policing

3/21/2024 Detroit Board of Police Commissioners: The board asked the police department for a missing
persons report and approved promotions of several police officers to higher ranks. Commissioners also
hired two new investigators for the board, pending background checks, and reposted job listings for six
more.

Documented by Gina McPherson and Pamela Taylor

For more on the Board of Police Commissioners, check out the latest BOPC Watch.



                                                                   Question of the Week

                                                     Did the BOPC mess up — or did we?

In last week’s newsletter, we told you that the March 14 meeting of the Detroit Board of Police
Commissioners ended in the middle of a seconded motion with Vice Chair Tamara Smith saying she
would not entertain a vote. Smith, acting as chair at the time, said the motion was out of order. It seemed
improper to us, but at the March 21 meeting, Board Parliamentarian Frances Jackson set the record
straight.

“Neither the making nor the seconding of a motion places that before the assembly,” Jackson said. “Only
when the chair says it is moved and seconded does that put that motion as pending.”
 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                6/7
 10/15/24,Case
          2:15 PM2:22-cv-12951-JJCG-APP                       ECF No. 147-24,
                                                                  Documenters:   PageID.2858
                                                                               When                       Filed
                                                                                    ‘relentlessly local’ goes     11/27/24 Page 7 of 7
                                                                                                              global

Jackson said a chair can choose not to entertain a vote if they think the motion is out of order.



                                                                            Get Involved


                                                Upcoming events and opportunities




We’re back with a freshly-curated list of ways to get involved, Detroit! Learn more about cooperative
models for small business at a free neighborhood workshop. If dollar bills are what you’re after, there’s a
$10,000 paid fellowship available to reporters and freelancers. Need something more permanent?
There’s a full-time, remote job at the Documenters Network! More interested in a casual hang? Join
Outlier staff for volunteer opportunities or even coffee and tea.

Documenters have lots of upcoming ways to participate: Get professional development tips from an
industry pro, join Docs from around the country for a network-wide fact-checking workshop hosted by
our very own Dan Ignacio, engage in some assignment talk over dinner with Lynelle and Noah, and
register for an April workshop where we can meet with the Grand Rapids Documenters to learn how the
state budget affects our cities.

                                                                      See opportunities


      If you have an opportunity you would like to share, email us at documenters@outliermedia.org.



 This edition of the Detroit Documenters newsletter was written by Outlier Media’s Lynelle Herndon and
      Noah Kincade, and Documenters Amber Umscheid, Meghan Rutigliano, and Perry Sylvester.


© 2024 Outlier Media
Powered by Newspack


 https://outliermedia.org/newsletter/when-relentlessly-local-goes-global/                                                                7/7
